UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

WINCHESTER DIVISION
SCHMIEDE CORPORATION, )
)
Plaintiff, )
)
v. ) Case No. 4:10-CV-52
) Mattice /Lee
FEDERAL lNSURANCE COMPANY, )
)
Defendant. )

AGREED ORDER DISMISSING ALL CLAIMS WITHOUT PREJUDICE

Consistent with and pursuant to the parties’ Agreed Terms of Stipulation of Voluntary

Dismissal, the Court hereby ORDERS that this action is dismissed without prejudice, and with

each party to bear its own fees and costs.

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SO ORDERED this l_ day of December, 2010.

Approvea' for Entry,

HARWELL HOWARD HYNE
GABBERT & MANNER, P.C.

By: s/ Craig V. Gabbert. Jr.
Craig V. Gabbert, Jr. (No. 4702)
D. Alexander Fardon (No. 13787)
315 Deaderick Street, Suite 1800
Nashville, Tennessee 37238-1800
Telephone: 615-256-0500
Facsimile: 615-251-1058
Email: cvg@h3gm.c0m

Attorneys for the Schmiea'e Corporall`on

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HOWELL & FISHER, PLLC

By: s/ William B. Jakes 111
William B. Jakes 111 (No. 10247)
300 J ames Robertson Parkway
Nashville, Tennessee 37201-1107
Telephone: 615-244-3370
Facsimile: 615-244-3518
Email: bjakes@howell-fisher.com

Attorneys for F ederal lnsurance Company

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